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[Dntcdfnc] [District Notice Deficient Filing New Case]



                                                  UNITED STATES BANKRUPTCY COURT
                                                     MIDDLE DISTRICT OF FLORIDA
                                                          ORLANDO DIVISION
                                                          www.flmb.uscourts.gov



In re:                                                                         Case No. 6:18−bk−01356−KSJ
                                                                               Chapter 11
GEA Seaside Investment Inc.
dba GEA Seaside Investments Inc



________Debtor*________/



                                       NOTICE OF INCOMPLETE AND/OR DEFICIENT FILING
                                          AND OPPORTUNITY TO CURE DEFICIENCIES

    On March 12, 2018 the above named Debtor filed a Voluntary Petition under Chapter 11 of the Bankruptcy Code.
The clerk has noted deficiencies to the petition, schedules and/or other filed papers of this Debtor. The Debtor is
provided an opportunity to cure the deficiencies within the time set forth herein. All deadlines run from the original
petition file date unless otherwise noted. This case may be dismissed without further notice or hearing if the Debtor
fails to timely correct the noted deficiency.

           Schedules A−B,D−H and a fully completed Summary of Your Assets and Liabilities (forms 106 for
           individuals or 206 for non−individuals) were not filed. Pursuant to Fed. R. Bankr. P. 1007(b) and (c),
           the Debtor is directed to file the missing items with proper declaration of the Debtor no later than 14
           days from the date the petition was filed.

           A link to updated forms is available on the Court's website at: http://www.flmb.uscourts.gov/forms/.

           If additional creditors not initially provided with the Petition are added on the Schedules, the Debtor
           is directed to include $31.00 amendment fee and provide proof of service of the Notice of Chapter 11
           Bankruptcy Case to each additional creditor. For Chapter 13 cases, a copy of the filed Chapter 13
           plan must also be served on the additional creditors.


           The Statement of Financial Affairs was not filed. The Debtor is directed to file a signed Statement of
           Financial Affairs using the form B107 for an individual or B207 for non−individuals within 14 days
           from the date the case was filed.

           A Corporate Ownership Statement was not filed pursuant to Fed. R. Bankr. P. 1007(a)(1) and Fed. R.
           Bankr. P. 7007.1 or was filed without an original signature or proper electronic signature in
           compliance with Fed. R. Bankr. P. 9011(a) and/or Local Rule 9011−4. The Debtor is directed to file a
           signed Corporate Ownership Statement within 14 days.

           The attorney for Debtor did not file an Attorney's Disclosure of Compensation required by 11 U.S.C.
           § 329 and Fed. R. Bankr. P. 2016(b). The attorney for the Debtor is directed to file an Attorney's
           Disclosure of Compensation (Form B2030) within 14 days from the date the petition was filed.
           Failure of attorney for the Debtor to cure this deficiency may result in sanctions or the issuance of a
           show cause order.

           The Debtor's attorney failed to upload creditors during the filing process. The Notice of Chapter 11
           Bankruptcy Case will exclude the creditors, and therefore, their debts may not be dischargeable.
           Creditors shall be uploaded within three days of receipt of this notice. The Debtor's attorney is also
           directed to serve a copy of the Notice of Chapter 11 Bankruptcy Case that contains the full social
           security number of the Debtor upon all creditors and file proof of service of the notice. The social
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security number must be redacted on the proof of service or its attachments filed with the Court.

The Debtor failed to file the Chapter 11 list of Twenty Largest Unsecured Creditors pursuant to Fed.
R. Bankr. P. 1007(d) (Official Form B104 for Individuals and B204 for Non−Individuals) or it was
filed without an original signature or proper electronic signature in compliance with Fed. R. Bankr. P.
9011(a) and/or Local Rule 9011−4. The Debtor is directed to file the list within seven days from the
date the petition was filed.

The Case Management Summary has not been filed or was filed without an original signature or
proper electronic signature in compliance with Fed. R. Bankr. P. 9011(a) and/or Local Rule 9011−4.
Pursuant to Local Rule 2081−1(b), the chapter 11 Debtor is directed to file a signed Case
Management Summary within the earlier of three business days following the petition date or the
date the Debtor−in−Possession filed a motion requesting affirmative relief.

The Debtor shall pay unpaid filing fees in the amount of N/A within seven days from the date of
service of this notice. Payment shall be made by cashier’s check or money order payable to Clerk,
U.S. Bankruptcy Court at the address indicated below.



                                        FOR THE COURT
 Dated: March 13, 2018                  Sheryl L. Loesch , Clerk of Court
                                        George C. Young Federal Courthouse
                                        400 West Washington Street
                                        Suite 5100
                                        Orlando, FL 32801


The Clerk's office is directed to serve a copy of this notice on interested parties.

*All references to "Debtor" shall include and refer to both debtors in a case filed jointly by two
individuals.
